                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION


JEFFREY ORENSTEIN,                                 §
            Plaintiff                              §
                                                   §                   A-23-CV-00391-JRN
-vs-                                               §
                                                   §
SPRUCE SERVICES, INC.,                             §
            Defendant                              §
                                                   §


                                              ORDER

       Before the Court in the above-entitled cause of action is the Report and Recommendation

of United States Magistrate Judge Susan Hightower regarding Defendant’s Motion to Dismiss or

Transfer to the Southern District of Florida, filed July 7, 2023 (Dkt.11), and the associated

response and reply briefs. This Court referred this cause to the United States Magistrate Judge

for findings and recommendations. The Magistrate Judge filed her Report and Recommendation

on December 18, 2023. See Dkt. 17. After a careful and thorough review of the case and the

applicable law, the Magistrate Judge recommends that this Court DENY Defendant’s Motion to

Dismiss or Transfer to the Southern District of Florida (Dkt. 11).

       As noted, the Magistrate Judge issued her Report and Recommendation on December 18,

2023, and on the same date, both parties were served with copies of the Report and

Recommendation by electronic means. The Magistrate Judge explicitly warned both parties in

writing that a party’s failure to file written objections within fourteen (14) days after being

served with a copy of the Report and Recommendation, bars that party, except on grounds of

plain error, from attacking on appeal the unobjected-to proposed factual findings and legal

conclusions accepted by the district court. Although Rule 72(b) of the Federal Rules of Civil
Procedure requires parties to file objections within 14 days, Rule 6 extends this period by 3 days

if service is via electronic means. See Fed. R. Civ. P. 6(d); see also American Realty Trust, Inc.

v. Matisse Partners, No. Civ. A. 3:00–CV–1801, 2003 WL 22083516, at *1 n. 1 (N.D. Tex.

2003) (adding 3 days to the time period provided under Rule 72(b)). Accordingly, pursuant to 28

U.S.C. § 636(b), Rule 72(b), and Rule 6(d), the parties’ objections were due on or before January

6, 2024. However, as of the date of this Order’s issuance, the Court has yet to receive objections

to the Magistrate’s Report and Recommendation. Consequently, the parties are not entitled to a

de novo review by this Court. Having found no plain error, the Court will accept the Report and

Recommendation of the Magistrate Judge for the reasons stated therein.

       IT IS THEREFORE ORDERED that the Court hereby ADOPTS the Report and

Recommendation that the United States Magistrate Judge has filed in this cause.

       IT IS FURTHER ORDERED that Defendant’s Motion to Dismiss or Transfer to the

Southern District of Florida (Dkt.11), is DENIED.

       SIGNED this 8th day of January, 2024.




                                              JAMES R. NOWLIN
                                              SENIOR U.S. DISTRICT JUDGE
